       4:18-cv-00268-RBH         Date Filed 05/07/18      Entry Number 7       Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                                FLORENCE DIVISION

 John Doe,                                    )    CASE NO. 4:18-cv-00268-RBH
                                              )
                Plaintiff,                    )
                                              )
                                                              DEFENDANT’S
  v.                                          )
                                                          ANSWERS TO RULE 26.01
                                              )
 Coastal Carolina University,                 )             INTERROGATORIES
                                              )
                Defendant.                    )
                                              )

       Pursuant to Rule 26.01 of the Local Civil Rules for the United States District Court for the

District of South Carolina, Coastal Carolina University (“the University”) hereby respond to the

Court Interrogatories as set forth below:

       A.      State the full name, address, and telephone number of all persons or legal entities

who may have a subrogation interest in each claim and state the basis and extent of said interest.

RESPONSE: None.

       B.      As to each claim, state whether it should be tried jury or nonjury and why.

RESPONSE: Plaintiff has requested a jury trial.

       C.      State whether the party submitting these responses is a publicly owned company

and separately identify: (a) each publicly owned company of which it is a parent, subsidiary,

partner, or affiliate; (b) each publicly owned company which owns ten percent or more of the

outstanding shares or other indicia of ownership of the party; and (c) each publicly owned company

in which the party owns ten percent or more of the outstanding shares.

RESPONSE: The University is not a publicly owned company.

       D.      State the basis for asserting the claim in the division in which it was filed (or the

basis of any challenge to the appropriateness of the division).



                                            Page 1 of 3
       4:18-cv-00268-RBH          Date Filed 05/07/18        Entry Number 7        Page 2 of 3




RESPONSE: The University is located in Horry County, South Carolina, which is in the

Florence Division in the United States District Court for the District of South Carolina. The

allegations in the Complaint are alleged to have occurred in Horry County.

        E.        Is this action related in whole or in part to any other matter filed in this District,

whether civil or criminal? If so, provide: (a) a short caption and the full case number of the related

action; (b) an explanation of how the matters are related; and (c) a statement of the status of the

related action. Counsel should disclose any cases which may be related regardless of whether they

are still pending. Whether cases are related such that they should be assigned to a single judge

will be determined by the Clerk of Court based on a determination of whether the cases: arise from

the same or identical transactions, happenings or events; involve the identical parties or property;

or for any other reason would entail substantial duplication of labor if heard by different judges.

RESPONSE: No.

        F.      [Defendants only.] If the Defendant is improperly identified, give the proper

identification and state whether counsel will accept service of an amended summons and pleading

reflecting the correct identification.

RESPONSE: The University is properly identified.

        G.      [Defendants only.] If you contend that some other person or legal entity is, in whole

or in part, liable to you or the party asserting a claim against you in this matter, identify such person

or entity and describe the basis of said liability.

RESPONSE: None at this time.




                                     [signature block to follow]




                                              Page 2 of 3
      4:18-cv-00268-RBH        Date Filed 05/07/18    Entry Number 7     Page 3 of 3




                                                 McNAIR LAW FIRM, P.A.

                                                  s/James K. Gilliam
                                                 James K. Gilliam, Fed ID #10761
                                                 Henrietta U. Golding, Fed ID #2125
                                                 2411 N. Oak Street, Suite 206 (29577)
                                                 Post Office Box 336
                                                 Myrtle Beach, SC 29578-0336
                                                 Ph:    843.444.1107
                                                 Fax: 843.443.9137
                                                 Email: jgilliam@mcnair.net
                                                        hgolding@mcnair.net
                                                 Attorneys for Coastal Carolina University

Myrtle Beach, South Carolina

May 7, 2018




                                        Page 3 of 3
